ATTACHMENT 2A

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17                        UNITED STATES DISTRICT COURT
18
                       SOUTHERN DISTRICT OF CALIFORNIA
19
20   IN RE:                               Case No. 3:17-CV-00108-GPC-MDD
                                         [Consolidated with Case No. 3:17-CV-01010-
21   QUALCOMM LITIGATION
                                         GPC-MDD]
22
                                          APPLE INC. AND THE CONTRACT
23                                        MANUFACTURERS’ TRIAL BRIEF
24                                        [   REDACTED VERSION]
25                                       Trial Date:      April 15, 2019
26                                       Time:            9:00 a.m.
                                         Judge:           Judge Gonzalo P. Curiel
27                                       Courtroom:       2D
28
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     APPLE AND CONTRACT                                              -iii-                 CASE NO. 17-CV-00108-GPC-MDD
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 1         Apple Inc.; FIH Mobile Ltd. and Hon Hai Precision Industry Co., Ltd.,
 2   (together, “Foxconn”), Pegatron Corporation, Wistron Corporation, and Compal
 3   Electronics, Inc. (collectively, “the CMs”) submit this trial brief regarding the
 4   upcoming trial of their claims against Qualcomm Incorporated (“Qualcomm”), as
 5   well as Qualcomm’s claims against them, and each party’s defenses.
 6                                     INTRODUCTION
 7         This trial is about Qualcomm’s illegal and self-proclaimed “unique” business
 8   model that stifles competition, burdens innovation, and extorts customers and
 9   licensees. After Apple initiated this case, consumers, investors, and other technology
10   companies have come forward to challenge Qualcomm’s business model. Those
11   challenges have been launched against the backdrop of continuing investigations in
12   the United States, Europe and Asia. But even as consensus mounts against its illegal
13   business practices, Qualcomm seeks to expand them. Qualcomm’s anticompetitive
14   scheme also includes imposing gag clauses, like Section 7 of the BCPA, to prevent
15   law enforcement authorities from taking on Qualcomm’s business model.
16   Qualcomm used the BCPA to obstruct justice and to withhold $1 billion in payments
17   due to Apple under the BCPA in retaliation for Apple’s cooperation with antitrust
18   authorities. Qualcomm then demanded that Apple change its testimony to those
19   authorities.
20         Qualcomm has had a dominant position in CDMA and premium LTE cellular
21   modem chipsets, and shows that it will continue that position in 5G chipsets.
22   Qualcomm’s monopoly chip power, together with a unique refusal to sell chips to
23   unlicensed parties, allowed Qualcomm to achieve unreasonable and exclusionary
24   royalties for its patents or to block competitors’ sale of chips altogether. The higher
25   royalties have acted as a tax on competitor chips—with the monopolist Qualcomm as
26   the tax collector. To add to this, Qualcomm refuses to license its chipset competitors
27   exhaustively, despite having promised to do so. Qualcomm’s exclusionary conduct
28   has increased chip prices, caused supra-competitive margins, increased barriers to

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 1   entry and hastened competitors’ exit, restricted choice for customers and
 2   opportunities for competitors, and reduced the profits available for R&D by
 3   competitors.
 4         Qualcomm’s component business supplies Apple and the CMs with a single
 5   connectivity element for cellular devices such as iPhones and iPads—the cellular
 6   modem chipset.1 This chipset enables iPhones and iPads to connect to cellular
 7   networks. Unlike other component manufacturers, Qualcomm requires customers
 8   also to purchase a patent license before they can purchase chipsets from Qualcomm,
 9   under what Qualcomm calls its “no license, no chips” policy. Qualcomm’s licensing
10   arm then demands a 5% royalty on the Net Selling Price of each cellular device
11   manufactured—an amount far greater than the price of the modem chipset itself.
12   Qualcomm customers must pay that royalty even on devices that do not contain a
13   Qualcomm chipset.
14         Through this scheme, Qualcomm taxes innovations made by others. Twenty-
15   five years ago, when the cellular industry was just starting, the only value of a
16   cellular device was its connection to a cellular network. But today iPhones and iPads
17   have evolved into handheld computers with a revolutionary touchscreen interface,
18   virtual keyboard, facial recognition security, state of the art cameras, and crystal clear
19   “Retina” displays. Qualcomm had nothing to do with the creation of those features,
20   yet Qualcomm wants to be paid as if those (and future) breakthroughs belong to it.
21   Qualcomm insists in this Court that it should be entitled to rely on the same business
22   model it applied over a decade ago to the flip phone, but while that model may have
23   been defensible when a phone was just a phone, today it amounts to a scheme of
24   extortion that allows Qualcomm unfairly to maintain and entrench its existing
25   monopoly.
26   1
      “Device” is a term used to refer to finished consumer products such as cell phones
27   and tablets, rather than individual chips or chipsets which are commonly referred to
28   as “components.”

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 1   by levying a “tax” on device manufacturers’ purchases of baseband chipsets. When
 2   device manufacturers, such as Apple, seek to be relieved from these usurious
 3   royalties, Qualcomm then conditions “royalty relief” on the device manufacturers’
 4   acquiescence to exclusivity and other anticompetitive terms that benefit Qualcomm’s
 5   chipset business and further exclude competing chipset manufacturers. E.g., JTX5;
 6   PTX130; PTX1094; PTX1949. This, in turn, reinforces Qualcomm’s chipset market
 7   power and enhances its ability to extract above-FRAND royalties. Tellingly,
 8   Qualcomm explored dividing its business, however such a division would have
 9   broken the entire licensing model. E.g., PTX2385 (Project Phoenix).
10         This vicious cycle of self-reinforcing anticompetitive conduct is further
11   exacerbated by Qualcomm’s refusal to license its SEPs to its competitors, as it
12   promised to do through its FRAND commitments. But Qualcomm knows that its
13   ability to force supra-FRAND royalties depends on licensing at the device (phone or
14   tablet) level rather than at the chipset level, and that licensing its chipset competitors
15   would eviscerate that aspect of its licensing program. Qualcomm’s licensing
16   executives previously represented as much to agents of the United States
17   government, in a taped transcript that will be played for the jury. PTX11057.
18   Qualcomm licenses at the device level because “that is where the real money is.”
19         Qualcomm’s business model is unique and has no legitimate business
20   justification. No other component supplier insists on a separate patent license as a
21   condition for selling patented components. Tellingly, Qualcomm itself sells
22   components exhaustively in markets like WiFi chipsets where it lacks substantial
23   market power. Qualcomm’s unique business model has no function other than to
24   exclude competition and evade U.S. patent law’s doctrine of exhaustion.
25         B.     Qualcomm Violated Section 1 of the Sherman Act and the
                  Cartwright Act
26
27         Qualcomm has also violated Section 1 of the Sherman Act and Sections 16720,
28   16726, and 16727 of the Cartwright Act, which prohibit unreasonable restraints of

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 1   trade. 2 Qualcomm’s SULAs are unreasonable restraints of trade because they result
 2   from the exercise of Qualcomm’s chipset market power and levy a non-FRAND tax
 3   on Qualcomm’s rivals, thereby harming competition in the markets for CDMA and
 4   premium LTE chipsets.
 5         Qualcomm has also exploited its market―indeed, monopoly―power over
 6   CDMA and premium LTE modem chips by refusing to sell chips to any cell phone or
 7   tablet manufacturer that does not take a license to Qualcomm’s SEPs. This
 8   conditioning is foundational to Qualcomm’s “no license, no chips” scheme, which
 9   anticompetitively raises costs to cellular device manufacturers such as the CMs.
10         The law prohibits a seller from using its market power in the tying product to
11   coerce buyers to purchase the tied product, if the arrangement affects a substantial
12   volume of commerce in the tied market, even where the products are “functionally
13   linked.” Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 462, 112 S.
14   Ct. 2072, 2079, 119 L. Ed. 2d 265 (1992). Here, documents and testimony from
15   Qualcomm and its employees unequivocally confirm that Qualcomm will not sell its
16   modem chips to any OEM or contract manufacturer unless that buyer has previously
17   taken a license to Qualcomm’s cellular SEPs. Qualcomm’s Executive VP and
18   President of Qualcomm’s licensing division (QTL), Alex Rogers, testified that “it’s
19   Qualcomm’s policy not to sell chips to unlicensed OEMs.” 3 Senior Vice President of
20   Qualcomm’s Licensing Strategy and Legal Counsel, Fabian Gonell, testified to
21   Qualcomm’s policy of “components for use in cellular products being sold only to
22   people that have taken a license to at least the cellular essential patents.” 4 Qualcomm
23   has also conceded in an interrogatory response that “Qualcomm does not sell
24   2
       Tying under Sherman Act Section 1 and Cartwright Act Sections 16720 and 16726
25   is similar; however, proving an illegal tying arrangement requires fewer elements
26   under Cartwright Act Section 16727. Suburban Mobile Homes, Inc. v. Amfac
     Communities, Inc., 101 Cal. App. 3d 532, 540, 161 Cal. Rptr. 811 (Ct. App. 1980).
27   3
       2/22/2018 Dep. Tr. of A. Rogers, at 210:2-06.
     4
28     3/5/2018 Dep. Tr. of F. Gonell, at 59:21-60:03.

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 1   Baseband Processor Chipsets to unlicensed cellular device manufacturers.” 5 Chip
 2   supply is tied not only to the CMs’ initial agreement to above-FRAND licenses, but
 3   also to their continued compliance with those above-FRAND licenses, as
 4   Qualcomm’s “no license, no chips” policy is embodied in the CMs’ Component
 5   Supply Agreements with Qualcomm. 6 The CMs’ Component Supply Agreements
 6   make the tying condition clear by providing that chip supply could be cut off if the
 7   above-FRAND license terms are breached. When coupled with market power in the
 8   tying product, “an express refusal to sell the tying product without the tied product
 9   obviously constitutes coercion.” Packaging Sys., Inc. v. PRC-Desoto Int’l, Inc., 268
10   F. Supp. 3d 1071, 1085 (C.D. Cal. 2017) (citing Datagate, Inc. v. Hewlett–Packard
11   Co., 60 F.3d 1421, 1426 (9th Cir. 1995)).
12         C.     Qualcomm’s Patents Are Exhausted by Its Chipset Sales
13         Apple and the CMs challenge Qualcomm’s illegal business practices aimed at
14   extracting billions of dollars in undue royalties for a license to its patents, including
15   those embodied in the modem chipsets that it sells to the CMs. “The longstanding
16   doctrine of patent exhaustion provides that the initial authorized sale of a patented
17   item terminates all patent rights to that item.” Quanta Computer, Inc. v. LG Elecs.,
18   Inc., 553 U.S. 617, 625 (2008). Here, the patented products are Qualcomm’s modem
19   chipsets that substantially embody Qualcomm SEPs.
20         The evidence will show that Qualcomm authorizes the sale of its modem
21   chipsets to the CMs for incorporation into Apple products (and products for other
22
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     5
24     Qualcomm Incorporated’s Objections and Supplemental Responses to Apple Inc.’s
     Special Interrogatory Nos. 9 and 13.
25   6
       When asked “How does Qualcomm communicate its policy of not selling chips to
26   unlicensed OEMs to OEMs,” Steve Mollenkopf (Qualcomm’s CEO) testified that it
     “is well known in the industry” and further stated that “if you look at our supply
27   agreements, they are very clear that we have this policy.” 3/21/2018 Dep. Tr. of S.
28   Mollenkopf, at 62:20-24.

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 1   CM customers), 7 and that those modem chipsets substantially embody Qualcomm
 2   SEPs. 8 If Qualcomm’s patents are not practiced, e.g., because they are not actually
 3   standard-essential, then Qualcomm has no basis to demand royalties for
 4   them. However, if those patents are actually essential to a standard implemented in
 5   commercial products, then the evidence will show that the majority of them are
 6   substantially embodied in Qualcomm’s modem chipsets and, therefore,
 7   exhausted. Apple and the CMs’ expert, Dr. Matthew Valenti, analyzed a randomly
 8   selected, statistically significant sample of the patents Qualcomm identified to Apple
 9   as its best SEPs. 9 Dr. Valenti will testify that, if practiced, 44% of the sampled
10   patents would have all claims substantially embodied in the Qualcomm chipset; 22%
11   would have all claims substantially embodied in network infrastructure equipment
12   7
       Although Qualcomm has attempted to evade the exhaustion doctrine by structuring
13   the sale of chipsets, provision of certain software needed to implement those chipset,
14   and rights to practice patents embodied in those products in a shell game across
     multiple entities and separate agreements, the evidence will show that Qualcomm
15   Inc. (the patent owner) tightly controls, via contract, who may buy the chipsets, the
16   software used therewith, and the guaranteed supply of such chipsets for Apple
     products. See JTX3; JTX4; JTX9; JTX11; JTX18; JTX25; JTX30; JTX34; JTX41;
17   JTX52; JTX57; JTX62; JTX63; JTX68; JTX76; JTX147.
     8
18     Patent exhaustion applies to both patented articles/items and articles that
     substantially embody a patent claim. Quanta, 553 U.S. at 628 (“[T]he traditional bar
19   on patent restrictions following the sale of an item applies when the item sufficiently
20   embodies the patents—even if it does not completely practice the patent—such that
     its only and intended use is to be finished under the term of the patent.”); id. at 637
21   (“[M]aking a product that substantially embodies a patent is, for exhaustion purposes,
22   no different from making the patented article itself.”); see also United States v.
     Univis Lens Co., 316 U.S. 241, 250-51 (1942). A product “substantially embodies” a
23   patent “if (1) the only reasonable and intended use of the article is to practice the
24   allegedly exhausted patent; and (2) the article embodies the essential or inventive
     features of the allegedly exhausted patent.” JVC Kenwood Corp. v. Nero, Inc., 797
25   F.3d 1039, 1046 (Fed. Cir. 2015); see also Quanta, 553 U.S. at 631; Univis Lens, 316
26   U.S. at 249.
     9
       Qualcomm declared the patents “essential” to certain cellular standards. If true,
27   then the Qualcomm chipsets that implement these standards would necessarily
28   practice the SEPs and, therefore, be exhausted.

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 1   Telecommunications Industry Association (TIA), the Alliance for
 2   Telecommunications Industry Solutions (ATIS), and the European
 3   Telecommunications Standards Institute (ETSI), 11 and technical companies such as
 4   Qualcomm that seek to influence cellular standards. It is one commitment: the
 5   commitment that they are going to tell the SSOs in a timely way about their
 6   intellectual property rights (IPRs) and offer FRAND licenses to any party if that
 7   technology makes it into the standard.
 8         Apple and the CMs contend that, as part of or as a result of Qualcomm’s
 9   unlawful monopolization scheme, Qualcomm has violated its FRAND commitment
10   to TIA, ATIS, and ETSI by failing to disclose to SSOs that it owns technology
11   incorporated into the standard and by offering licenses with terms that are not “fair,
12   reasonable, and nondiscriminatory.” Qualcomm, in turn, seeks a declaration that it
13   has complied with its FRAND obligations to ETSI. Whether Qualcomm has
14   complied with its FRAND commitment to TIA, ATIS, and ETSI is relevant to a
15   number of the claims and defenses in these consolidated cases. E.g., Apple Claims
16   LXI, LXII, LXIII; CMs Counterclaims I–III, V–IX; Qualcomm Counterclaims II, IV;
17   Apple and CMs’ Defense of Violation of SSO IPR Policy.
18         Qualcomm has an obligation to make good faith efforts to timely disclose its
19   IPR (i.e., patents and relevant patent applications) to TIA, ATIS, and ETSI.
20   Generally, SEP owners participating in a standard “should disclose intellectual
21   property rights that they know are relevant to potential standards while the standard
22   is being discussed and before the standard is adopted.” Apple, Inc. v. Motorola
23   Mobility, Inc., 886 F. Supp. 2d 1061, 1068 (W.D. Wis. 2012). There is no
24   requirement for the IPR to “actually be essential to fall under the disclosure
25   obligation, [s]o long as it might become essential.” Core Wireless Licensing S.A.R.L.
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27   11
       ATIS and ETSI are organizational partners for the United States and Europe,
28   respectively, of the Partnership Project known as 3GPP.

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 1   v. Apple Inc., 899 F.3d 1356, 1366 (Fed. Cir. 2018) (internal quotation marks
 2   omitted) (brackets in original). In the case of ETSI, “the policy clearly requires
 3   members to make efforts to disclose intellectual property rights before a standard is
 4   adopted.” Apple, 886 F. Supp. 2d at 1086; see also Core Wireless, 899 F.3d at 1368.
 5   The evidence will show that Qualcomm’s disclosure practices are untimely: that
 6   Qualcomm pursued technical changes to cellular standards without telling SSOs
 7   about relevant IPR before the standard was adopted. E.g., PTX11272; PTX3191.
 8         Qualcomm’s licenses, license offers, and licensing practices will be thoroughly
 9   discussed at trial in the context of FRAND; but several practices and issues are of
10   particular note. First, it is discriminatory to distinguish between potential recipients
11   of a patent owner’s FRAND offer, and it is unfair and unreasonable to refuse to
12   license to modem chipset manufacturers when the patented technology is
13   implemented in that component. A FRAND offer must be made to any party who
14   requests a SEP license, including modem chipset manufacturers. Microsoft Corp. v.
15   Motorola, Inc., 795 F.3d 1024, 1031 (9th Cir. 2015) (A “SEP holder cannot refuse a
16   license to a manufacturer who commits to paying the RAND rate.”). Judge Koh
17   recently determined that it was inconsistent with Qualcomm’s FRAND obligations to
18   U.S. SSOs TIA and ATIS for Qualcomm to refuse to license to modem chipset
19   competitors, such as Intel. Fed. Trade Comm’n v. Qualcomm Inc., No. 17-CV-
20   00220-LHK, 2018 WL 5848999, at *15 (N.D. Cal. Nov. 6, 2018); id. at *10 (“Ninth
21   Circuit precedent establishes that Qualcomm’s FRAND commitments include an
22   obligation to license to all comers, including competing modem chip suppliers.”).
23   The evidence will show that Qualcomm’s practice of refusing to license to chipset
24   manufacturers is unfair and unreasonable. Apple and the CMs will show, including
25   through Dr. Valenti, that Qualcomm owns SEPs that are implemented at the modem
26   chipset and that Qualcomm has received licenses to its chips. E.g., PTX269;
27   4/5/2018 Tiedemann Dep. at 228:6-229:4; PTX3587; JTX117; JTX119; JTX126.
28   The evidence will show that Qualcomm’s licensing practices are aimed solely at

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     APPLE AND CONTRACT                        - 21 -        CASE NO. 17-CV-00108-GPC-MDD
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     MANUFACTURERS’ TRIAL BRIEF
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